  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 1 of 31 PAGEID #: 520




                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                 CRIMINAL N0.1:12-cr-043

                                                         SUPERSEDING
vs.                                                      INDICTMENT

TRACY BIAS (1)                                           21 U.S.C. § 841(a)(1)
JOON H. CHONG                                            21 U.S.C. § 841(b)(1)(C)
JOHN A. DALHSTEN                                         21 U.S.C. § 843(a)(3)
MARK R. FANTAUZZI (4)                                    21 U.S.C. § 846
MARCELLUS JAJUAN GILREATH (5)                            21 U.S.C. § 848(a) ~~~
STEPHEN L. PIERCE                                        21 U.S.C. § 848(b)(1) ~ / /
JAMES E. LASSITER (7)                              :     21 U.S.C. § 8~a)(1)~     '~
STEVEN E. HILLMAN (8)                                    18 U.S.C. § 19&~~1J(4?y)    ~( )
                                                                        ~Q.?'<S 6'~
                  ----------------------------~~&
THE GRAND JURY CHARGES THAT:                                                     "~ ~~

       At all times material to this Indictment:

                                      INTRODUCTION


      1.      Beginning in or about February 4, 2009, and continuing up to and including June

12, 2011, the defendants, TRACY BIAS, MARK R. FANTAUZZI, MARCELLUS JAJUAN

GILREATH, JAMES E. LASSITER, STEVEN E. HILLMAN, Joon Chong, John A. Dahlsten

and Stephen L. Pierce (Chong, Dahlsten, and Pierce are not charged in this Superseding

Indictment) owned, operated and/or provided medical services for Southern Ohio Complete Pain

Management (SOCPM), and Portsmouth Medical Solutions (PMS), and Trinity Medical Care

(TRINITY), in Portsmouth, Ohio, and Columbus Ohio and Physicians Pharmacy, Piketon, Ohio in

the Southern District of Ohio and elsewhere.




                                               1
  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 2 of 31 PAGEID #: 521




                            BACKGROUND ON DEFENDANTS

      2.       At all points relevant to this Indictment the defendant, TRACY BIAS, was born

August 17, 1964.    TRACY BIAS has no known medical education.           TRACY BIAS was

convicted of Felony Possession of Marajuana in 2006 in Pukaski County, Indiana. TRACY

BIAS owned, opened and operated SOCPM on or about February 4, 2009 and PMS on or about

July 17,2009 in Portsmouth, Ohio. On or about January 26,2010, TRACY BIAS became the

listed owner of Trinity Medical Care LLC., located at 1687-1689 Karl Court in Columbus, Ohio.

      3.       At all points relevant to the Indictment the defendant, MARCELLUS JAJAUN

GILREATH, was born June 13, 1962. In 1988 he received a degree in medicine from the

University of Cincinnati. On or about April 23, 1990, MARCELLUS JAJAUN GILREATH

received his medical license from the State of Ohio.

      4.       At all points relevant to the Indictment the defendant, MARK R. FANTAUZZI,

was born November 11, 1952. MARK R. FANTAUZZI received a degree in medicine from the

University of Des Moines in 1987. MARK R. FANTAUZZI also received a medical license

from Ohio on or about June 21, 1994.

      5.       At all points relevant to the Indictment the defendant, JAMES E. LASSITER, was

born June 20, 1953. JAMES E. LASSITER received a degree in medicine from the Medical

University of Charleston, South Carolina in 1990. JAMES E. LASSITER also received a

medical license from Ohio on or about December 18, 1991.

      6.       At all points relevant to the Indictment the defendant STEVEN E. HILLMAN

received his law degree from Capital University in Columbus, Ohio. STEVEN E. HILLMAN

was licensed to practice law in the State of Ohio on May 4, 1973.




                                                2
  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 3 of 31 PAGEID #: 522




                          GENERAL ALLEGATIONS AND TERMINOLOGY

      7.       The Controlled Substances Act ("CSA") governs the manufacture, distribution, and

dispensation of controlled substances in the United States. The CSA and the Code of Federal

Regulations ("CFR") contain definitions relevant to this Indictment, some of which are set forth

below.

         8.    The term "controlled substance" means a drug or other substance, or immediate

precursor, included in Schedule I, II, III, IV, and V, as designated by Title 21 ofthe United States

Code, Section 802(c)(6), and the CFR.

         9.    The term "Schedule II" means the drug or other substance has a high potential for

abuse; the drug has a currently accepted medical use with severe restrictions; and abuse of the drug

or other substances may lead to severe psychological or physical dependence.

      10.      The term "dispense" means to deliver a controlled substance to an ultimate user or

research subject by, or pursuant to the lawful order of, a practitioner, including the prescribing and

administering of a controlled substance.

      11.      The term "distribute" means to deliver (other than by administering or dispensing)

a controlled substance.

      12.      The term "practitioner" means a medical doctor, physician, or other individual

licensed, registered, or otherwise permitted, by the United States or the jurisdiction in which she or

he practices, to dispense a controlled substance in the course of profit.

      13.      The Drug Enforcement Administration ("DEA") issues registration numbers to

qualifying doctors, who become authorized to dispense Schedule II, III, IV, and V controlled

substances.   To issue a prescription for a controlled substance, a doctor must have a DEA



                                                  3
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 4 of 31 PAGEID #: 523




registration number for each location in which they are dispensing medicine per state where

dispensing controlled substances.

      14.      A prescription for a controlled substance violates the Controlled Substances Act

and CFR if it is issued beyond the bounds of medical practice or is not for a legitimate medical

purpose in the usual course of a professional practice.

      15.      The term "dosage" is the amount, frequency, and number of doses of medication

authorized by a practitioner, who has been issued a DEA registration number.

      16.      The term "titration" is to prescribe medication so that patients have optimal pain

relief with minimal side effects.

      17.      The purpose of a urine test is to determine if the prescribed medications and/or

illicit drugs (e.g., cocaine and marijuana) are present in the urine.

      18.      The purpose of a serum test is to determine the level of prescribed medications

and/or illicit drugs (e.g., cocaine and marijuana) in a patient's blood.

      19.      The term "serious bodily injury" means bodily injury which involves a substantial

risk of death, protracted and obvious disfigurement, or protracted loss or impairment of the

function of a bodily member, organ, or mental faculty.

      20.      The term "pharmacist" means any pharmacist licensed by a State to dispense

controlled substances, and shall include any person authorized by a State to dispense controlled

substances under the supervision of a pharmacist licensed by such State.

      21.      The term "prescription" means an order for medication which is dispensed to or for

an ultimate user but does not include an order for medication which is dispensed for immediate

administration to the ultimate user.


                                                   4
  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 5 of 31 PAGEID #: 524




                             CHARGED CONTROLLED SUBSTANCES

      22.      OxyContin, which is also known as "Oxy," "Hillbilly Heroin," "Killer," and

"Coffin," is a Schedule II controlled substance whose active ingredient is oxycodone. Demand

for OxyContin has grown to epidemic proportions in parts of Ohio, Kentucky, and other parts of

the United States where drug dealers can sell an 80 mg OxyContin pill on the street for $80 to $100

or more.

      23.      OxyContin, which is a brand name pill designed, manufactured, and promoted by

Purdue Pharma to be a safer and less abusable drug for the treatment of chronic pain, is an

analgesic-narcotic that contains oxycodone. Introduced to the market in or about 1995, OxyContin

is a pill that gradually releases steady amounts of narcotics for 12 hours. OxyContin pills have

contained dosages of 20 mg, 40 mg, 80 mg, and 160 mg.

      24.      OxyContin and other Schedule II drugs have a high potential for abuse and can be

crushed and snorted or dissolved and injected to get an immediate high. This abuse can lead to

addiction and overdose, and, sometimes death. The injection method of abuse ofOxyContin (and

other drugs) oftentimes leaves highly visible scars and ulcers on a patient's arms.

      25.      Vicodin is a brand name pill that contains hydrocodone a Schedule III controlled

substance.

      26.      Roxicodone, also known as "Roxy," is a brand name pill that contains oxycodone.

      27.      Percocet, also known as "Perc," is a brand name pill that contains oxycodone.

      28.      Lortab, also known as "Tab," is a brand name pill that contains hydrocodone, a

Schedule III controlled substance.




                                                 5
  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 6 of 31 PAGEID #: 525




      29.      Valium is a brand name pill that contains diazepam, a Schedule IV controlled

substance.

      30.      Alprazolam is a benzodiazepine, a Schedule IV controlled substance. Xanax is the

brand name for Alprazolam.

      31.      Oxycodone immediate release which comes in 30 mg's and 15 mg's strengths with

street terms ofOxy's, 30's or IS's, is a Schedule II controlled substances.

                                                COUNTl

       THE GRAND JURY FURTHER CHARGES THAT:

      32.      Paragraphs 1 through 31 of the Indictment are re-alleged and incorporated into

Count 1 of this Indictment.

      33.      Beginning in or about February 5, 2009, and continuing up to and including June 6,

2011, within the Southern District of Ohio, and elsewhere, the defendants, TRACY BIAS,

MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH, JAMES E. LASSITER,

STEVEN HILLMAN, Joon Chong, John A. Dahlsten and Stephen L. Pierce, along with others

known and unknown to the grand jury, did knowingly, intentionally, and unlawfully combine,

conspire, confederate, and agree together with others known and unknown to the grand jury to

knowingly, intentionally, and unlawfully distribute and dispense a mixture and substance

containing a detectable amount of diazepam, hydrocodone, oxycodone, and alprazalam, not for a

legitimate medical purpose and outside the scope of medical practice.

        In violation of Title 21, United States Code, Section 841(a)(l).




                                                  6
  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 7 of 31 PAGEID #: 526




                            NATURE AND PURPOSE OF CONSPIRACY

        The purposes of the conspiracy included, but were not limited to, the following:

      34.      To make as much money as possible by distributing and dispensing controlled

substances such as diazepam, hydrocodone, oxycodone, and alprazalam, to patients, other drug

users, and conspirators.

      35.      To facilitate the re-distribution of controlled substances, including, but not limited

to, diazepam, hydrocodone, oxycodone, and alprazalam, to drug users.

      36.      To satisfy the demand for the illegal distribution, sale, and consumption of

controlled substances, including, but not limited to, diazepam, hydrocodone, oxycodone, and

alprazalam, in the areas of Southern Ohio, Northeastern Kentucky, and elsewhere, including, but

not limited to, West Virginia, Tennessee, Ohio and Kentucky.

                    WAYS, MANNERS, AND MEANS OF THE CONSPIRACY

      37.      During the course and in furtherance of the conspiracy, TRACY BIAS co-owned

and operated Southern Ohio Complete Pain Management (SOCPM) located at 1219 Findlay Street

in Portsmouth, Ohio, was a co-owner in Portsmouth Medical Solutions (PMS) located at 1405

Eleventh Street in Portsmouth, Ohio and a co-owner of Trinity Medical Care (Trinity) at

1687-1689 Karls Court in Columbus, Ohio.

      38.      During the course and in furtherance of the conspiracy, TRACY BIAS and others

would secure doctors for brief periods of time ranging from one day to several years through what

are known as locum tenens or temporary service contracts to prescribe pain medication for

"patients"/customers at his clinics.




                                                 7
  Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 8 of 31 PAGEID #: 527




      39.      During and in furtherance of the conspiracy, TRACY BIAS recruited another

person known to the Grand Jury to start a pain clinic known as Trinity Medical Care (TRINITY) in

Columbus, Ohio.

      40.      During and in furtherance ofthe conspiracy, TRACY BIAS sold the known third

party items to assist in the startup of TRINITY.

      41.      During and in furtherance ofthe conspiracy, TRACY BIAS took over control of

TRINITY on January 25,2010.

      42.      During and in furtherance of the conspiracy, when it was learned that Columbus

based pharmacies refused to honor prescriptions from TRINITY due to the large volume of

Portsmouth area customers, TRACY BIAS instructed customers to obtain a State of Ohio

identification card with a Columbus address.

      43.      During the course and in furtherance of the conspiracy, these physicians would

"examine" approximately 25 or more customers a day.

      44.      During the course and in furtherance of the conspiracy, these customers would

travel long distances; in some cases hundreds of miles round trip or in excess often hours of travel

time round-trip, to be treated by SOCPM, PMS, and TRINITY for severe pain.

      45.      During the course and in furtherance of the conspiracy, these physicians would

ignore the fact that the medical records provided indicated that a large portion of these customers

had recently traveled to the State of Florida to receive treatment, that being large amounts of

narcotic controlled substances.




                                                   8
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 9 of 31 PAGEID #: 528




      46.       During and in furtherance of the conspiracy, SOCPM and PMS provided large

amounts of prescription medications to customers that SOCPM and PMS and its' doctors knew or

had a reasonable cause to believe were drug addicts.

      47.       During the course and in furtherance of the conspiracy, TRACY BIAS and doctors

Joon H.Chong, John A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS

JAJUAN GILREATH, and JAMES E. LASSITER, used persons without any real medical

skills nor professional medical training and as part of their employment had them "assess", that is

do the physical checkups such as blood pressure, pulse and preform the "medical examinations"

such as having the customer bend to determine the extent of the injury to the customer.

      48.       During the course and in furtherance ofthe conspiracy, TRACY BIAS and doctors

Joon H.Chong, John A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS

JAJUAN GILREATH, and JAMES E. LASSITER allowed these employees to fill in or falsify

the medical assessments as to the medical information of the customer.

      49.       During the course and in furtherance of the conspiracy, each of these customers

would receive, at most, a cursory examination to determine the extent of the pain being suffered by

the customer.

      50.       During the course and in furtherance of the conspiracy, as part of the treatment,

these customers would receive the same cocktail of medications.

      51.       During the course and in furtherance of the conspiracy, TRACY BIAS would

replace any doctor who did not write prescriptions for the desired types and amounts of narcotics.

      52.       During the course and in furtherance of the conspiracy, TRACY BIAS would

charge each customer cash amounts that started at approximately $200.00 per office visit.



                                                 9
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 10 of 31 PAGEID #: 529




      53.       During the course and in furtherance of the conspiracy, TRACY BIAS would not

accept any customer who did not pay for the visit with cash.

      54.      During the course and in furtherance of the conspiracy, TRACY BIAS would not

refund any money to a customer who did not receive service from the doctor.

      55.      During the course and in furtherance of the conspiracy, TRACY BIAS would

replace physicians who left the clinic as rapidly as possible with another physician through a

temporary service.

      56.      During the course and in furtherance of the conspiracy, TRACY BIAS and other

persons known to the Grand Jury would "sponsor" customers, that is provide the customer with the

funds necessary to pay the office visit as well as to pay for the prescription.

      57.      The sponsored customer would then in tum give the medication back to TRACY

BIAS and others in return for a small amount of cash or pills.

      58.      During the course and in furtherance of the conspiracy, TRACY BIAS and others

did procure the services of physicians known to the Grand Jury to prescribe medication at

SOCPM, PMS, and TRINITY.

      59.      During the course and in furtherance of the conspiracy, TRACY BIAS and others

would interview doctors. That interview would include a "test" to see if the doctor was willing to

write prescriptions for Schedule II and III narcotic medications for persons not examined by the

doctor. This "test" was a loyalty challenge to see if the physician was in concert with TRACY

BIAS' illegal activities.

      60.      During the course and in furtherance, TRACY BIAS and doctors Joon H.Chong,

John A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN



                                                  10
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 11 of 31 PAGEID #: 530




GILREATH, and JAMES E. LASSITER became aware that a vast number of SOCPM, PMS,

and TRINITY customers were drug addicts.

        61.    During the course and in furtherance of the conspiracy, doctors Joon H.Chong,

John A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN

GILREATH, and JAMES E. LASSITER at SOCPM, PMS, and TRINITY continued the

practice of not conducting any meaningful examination of these customers to determine if there

existed any legitimate medical need or purpose for the prescription of controlled substances.

        62.    During the course and in furtherance of the conspiracy, doctors Joon H.Chong,

John A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN

GILREATH, and JAMES E. LASSITER at SOCPM, PMS, and TRINITY continued the

practice of prescribing the same cocktail of drugs to customers.

        63.    During the course and in furtherance of the conspiracy, Joon H. Chong, after

learning that local pharmacies would not fill prescriptions written by him, opened a dispensary at

PMS located at 1405 Eleventh Street Portsmouth, Ohio, with the purpose to provide his customers

with a ready source of controlled substances at a profit for Joon Chong, TRACY BIAS and others

known to the grand Jury.

        64.    During the course and in furtherance of the conspiracy, TRACY BIAS, after

learning that local pharmacies would not fill prescriptions written by PMS and SOCPM, opened a

dispensary at SOCPM located at 1219 Findlay Street Portsmouth, Ohio, using the DEA

registration number of MARK R. FANTAUZZI with the purpose to provide his customers with a

ready source of controlled substances at a profit for TRACY BIAS and others known to the grand

JUry.




                                                11
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 12 of 31 PAGEID #: 531




      65.      During the course and in furtherance of the conspiracy, TRACY BIAS and

MARK R. FANTAUZZI would obtain controlled substances and have them for distribution at

the dispensary located at 1219 Findlay Street, Portsmouth, Ohio without a license to use these

medications to fill prescriptions.

      66.      During the course and in furtherance of the conspiracy, TRACY BIAS directed

John A. Dahlsten at SOCPM to continue to write prescriptions for customers despite knowing that

John A. Dahlsten, at the time, did not have a valid DBA registration and as such, could not write

prescriptions for customers.

      67.      During the course and in furtherance of the conspiracy, Joon H.Chong, John A.

Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH,

and JAMES E. LASSITER, knowingly caused or had a reasonable expectation of addiction by

these customers thereby requiring the customers to return more frequently to SOCPM , PMS, and

TRINITY to obtain these controlled substances and insuring their payment of SOCPM, PMS, and

TRINITY and TRACY BIAS' office visit fees.

      68.      During and in furtherance of the conspiracy, the physicians rarely, if ever,

counseled these customers regarding alternative treatments, such as physical therapy,

psychological or addiction counseling, surgery, or any other treatment for patients' pain, instead of

high levels of narcotics.

      69.       During and in furtherance ofthe conspiracy, TRACY BIAS, Joon H.Chong, John

A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH,

and JAMES E. LASSITER, and others known to the Grand Jury distributed and dispensed, and

did aid and abet the distribution and dispensing of controlled substances, including, but not limited

to, diazepam, hydrocodone, oxycodone, and alprazalam.


                                                 12
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 13 of 31 PAGEID #: 532




      70.      During and in the course and in furtherance ofthe conspiracy, SOCPM, PMS, and

TRINITY would request urine screens from customers and ignore the results of the test findings.

      71.      During and in the course and in furtherance ofthe conspiracy, SOCPM, PMS, and

TRINITY would administer urine tests for the purpose of disguising the lack of any legitimate

medical purpose for the prescription, dispensing or distribution of controlled substances.

      72.      During the course and in furtherance of the conspiracy, SOCPM, PMS, and

TRINITY frequently issued prescriptions for narcotics including, but not limited to, diazepam,

hydrocodone, oxycodone, and alprazalam, to customers despite obvious indications(red flags) that

such customers were abusing, misusing, and distributing the controlled substances prescribed.

      73.      During the course and in furtherance of the conspiracy, Joon H.Chong, John A.

Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH,

and JAMES E. LASSITER, associated with SOCPM, PMS, and TRINITY prescribed excessive

amounts of controlled substances, including, but not limited to, diazepam, hydrocodone,

oxycodone, and alprazalam, with the knowledge and understanding or having a reasonable cause

to believe that these controlled substances were being further distributed by conspirator customers

due to the high cost in cash required for the office visit and obtaining of the controlled substances.

      74.      During the course and in furtherance of the conspiracy, Joon H.Chong, John A.

Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH,

and JAMES E. LASSITER, associated with SOCPM, PMS, and TRINITY prescribed excessive

amounts of controlled substances, including, but not limited to, diazepam, hydrocodone,

oxycodone, and alprazalam, with the knowledge and understanding or having a reasonable cause

to believe that these controlled substances were actually dangerous to the customers due to other

physical factors such as obesity, COPD and heart problems suffered by the customers and the


                                                  13
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 14 of 31 PAGEID #: 533




reaction of the "cocktail" would have on those customers and did so without a clear explanation of

the danger ofthese drugs on these individuals.

      75.      During the course and in furtherance of the conspiracy, Joon H.Chong, John A.

Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH,

and JAMES E. LASSITER, continued to prescribe excessive amounts of controlled substances

knowing that these distributions have resulted in numerous overdoses, and, in some cases, deaths

to customers, including, but not limited to: William Adams and Keith Vaughn.

      76.      During the course and in furtherance of the conspiracy, TRACY BIAS, Joon

H.Chong, John A. Dalhsten, Stephen Pierce, MARK R. FANTAUZZI, MARCELLUS

JAJUAN GILREATH, and JAMES E. LASSITER, and other co-conspirators known and

unknown to the Grand Jury obtained substantial income and resources from their illegal

distribution of controlled substances.

                    OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

       In furtherance of the conspiracy and to effect the objects thereof, TRACY BIAS and

others committed overt acts in the Southern District of Ohio and elsewhere including, but not

limited to, the following:

      77.      On or about November 4, 2009, William Adams began being seen as a patient of

PMS in Portsmouth, Ohio.

      78.      On or about November 4, 2009, Joon H. Chong first prescribed William Adams

oxycodone, a Controlled Substance from PMS.




                                                 14
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 15 of 31 PAGEID #: 534




     79.      On or about November 5, 2009, William Adams died after consuming a portion of

the oxycodone prescribed by Joon H. Chong and dispensed from the East Main Street Pharmacy in

Columbus, Ohio, on November 4, 2009 within the Southern District of Ohio.

     80.      On or about March 24, 2010, Keith Vaughn began being seen as a patient of

SOCPM in Portsmouth, Ohio.

     81.      On or about March 24, 2010, MARK R. FANTAUZZI first prescribed Keith

Vaughn oxycodone, a Controlled Substance from SOCPM.

     82.      On or about March 28, 2010, Keith Vaughn died after consuming a portion of the

oxycodone prescribed by MARK R. FANTAUZZI and dispensed from the Smartchoice Discount

Pharmacy in Columbus, Ohio, on March 24,2010, within the Southern District of Ohio.

     83.      On or about January 12, 2010, Joon H. Chong opened, as the owner operator, a

dispensary within the premises of PMS at 1405 Eleventh Street, Portsmouth Ohio.

     84.      On or about February 8, 2010, MARK R. FANTAUZZI opened as the owner

operator a dispensary within the premises ofSOCPM at 1219 Findlay St, Portsmouth, Ohio.

     85.      During the course and in furtherance of the conspiracy, TRACY BIAS and

STEVEN HILLMAN, from on or about January 30, 2010, up to and including the date of the

indictment, endeavored to open Physicians Pharmacy located in Piketon, Ohio to service

prescriptions for controlled substances issued by the pain clinics owned and controlled by

TRACY BIAS and others.

       In violation of Title 21, United States Code, Section 846.




                                              15
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 16 of 31 PAGEID #: 535




                                                 COUNT2

       1.        Paragraphs 1 through 85 of the Indictment are re-alleged and incorporated into

Count 2 of this Indictment.

       2.        Beginning in approximately, the exact date being unknown to the Grand Jury, and

continuing up to and including July 7, 2010, in the Southern District of Ohio and elsewhere, Joon

H. Chong, TRACY BIAS and others known and unknown to the Grand Jury, did knowingly,

willfully, intentionally, and unlawfully combine, conspire, confederate, and agree, and have a tacit

understanding with each other, to commit offenses against the United States, to wit: to knowingly,

willfully, intentionally and unlawfully to acquire or obtain possession of a controlled substance by

misrepresentation, fraud, forgery, deception, or subterfuge, namely OxyContin (oxycodone) and

Percocet (oxycodone), and other Schedule II controlled substances, in violation of 21 U.S.C. §

843(a)(3).

       3.        It was a part of the conspiracy that the defendant, Joon H. Chong, and others known

and unknown to the Grand Jury, concocted a scheme to obtain money and controlled substances,

namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II controlled

substances from a medical doctor, licensed to prescribe said controlled substances.

       4.        It was part of the conspiracy that Joon H. Chong was hired by TRACY BIAS and

others known and unknown to be a physician at the PMS.

       5.        It was further part of the conspiracy that the co-defendants along with others known

and unknown to the Grand Jury, did provide Joon H. Chong with names to use in writing those

prescriptions.




                                                  16
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 17 of 31 PAGEID #: 536




      6.       It was further a part of the conspiracy that Joon H. Chong, would write

prescriptions for OxyContin and Percocet, and other Schedule II controlled substances and

hydrocodone a Schedule III controlled substance without conducting any meaningful physical

examination of the customer of the pain clinic as to ascertain whether the prescription was for a

legitimate medical purpose and within the scope of ordinary medical practice.

      7.       It was further a part of the conspiracy that Joon H. Chong would continue to write

prescriptions for the customers of the pain clinic when he learned that area pharmacies refused to

fill prescriptions from the pain clinic due to concerns that the amount of medications and the

"cocktail" were outside the bounds of legitimate medical purpose.

      8.       It was further part of the conspiracy that Joon H. Chong, TRACY BIAS and the

other co-conspirators would then open an un-licensed dispensary on the premises of the clinic to

circumvent the need for customers to travel to another pharmacy, avoid the scrutiny of other area

pharmacists and make a greater profit.

       In violation of Title 21, United States Code, Section 846.

                                                COUNT3

      1.       Paragraphs 1 through 85 of the Indictment are re-alleged and incorporated into

Count 3 of this Indictment.

      2.       Beginning in approximately, the exact date being unknown to the Grand Jury, and

continuing up to July 28,2009, in the Southern District of Ohio and elsewhere, John A. Dahlsten,

the defendant herein, TRACY BIAS and others known and unknown to the Grand Jury, did

knowingly, willfully, intentionally, and unlawfully combine, conspire, confederate, and agree, and

have a tacit understanding with each other, to commit offenses against the United States, to wit: to



                                                 17
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 18 of 31 PAGEID #: 537




knowingly, willfully, intentionally and unlawfully to acquire or obtain possession of a controlled

substance by misrepresentation, fraud, forgery, deception, or subterfuge, namely OxyContin

(oxycodone) and Percocet (oxycodone ), and other Schedule II controlled substances, in violation

of21 U.S.C. § 843(a)(3).

      3.         It was a part of the conspiracy that the defendant, John A. Dahlsten, and others

known and unknown to the Grand Jury, concocted a scheme to obtain money and controlled

substances, namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II

controlled substances from a medical doctor, licensed to prescribe said controlled substances.

      4.         It was part of the conspiracy that John A. Dahlsten was hired by TRACY BIAS and

others known and unknown to be a physician at the SOCPM.

      5.         It was further part of the conspiracy that the co-defendants along with others known

and unknown to the Grand Jury, did provide John A. Dahlsten with names to use in writing those

prescriptions.

      6.         It was further a part of the conspiracy that John A. Dahlsten, would write

prescriptions for OxyContin and Percocet, and other Schedule II controlled substances and

hydrocodone a Schedule III controlled substance without conducting any meaningful physical

examination of the customer of the pain clinic as to ascertain whether the prescription was for a

legitimate medical purpose and within the scope of ordinary medical practice.

       7.        It was further a part of the conspiracy that John A. Dahlsten would continue to write

prescriptions for the customers of the pain clinic when he learned that area pharmacies refused to

fill prescriptions from the pain clinic due to concerns that the amount of medications and the

"cocktail" were outside the bounds of legitimate medical purpose.




                                                  18
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 19 of 31 PAGEID #: 538




       8.      It was further part of the conspiracy that John A. Dahlsten would continue to write

prescriptions for controlled narcotics despite being explicitly told that he did not have a vaild DEA

registration needed to so prescribe.

       In violation of Title 21, United States Code, Section 846.

                                                COUNT4

       1.      Paragraphs 1 through 85 of the Indictment are re-alleged and incorporated into

Count 4 of this Indictment.

      2.       Beginning in approximately, the exact date being unknown to the Grand Jury, and

continuing up to and including May 17, 2011, in the Southern District of Ohio and elsewhere,

MARK R. FANTAUZZI, the defendant herein, TRACY BIAS and others known and unknown

to the Grand Jury, did knowingly, willfully, intentionally, and unlawfully combine, conspire,

confederate, and agree, and have a tacit understanding with each other, to commit offenses against

the United States, to wit: to knowingly, willfully, intentionally and unlawfully to acquire or obtain

possession of a controlled substance by misrepresentation, fraud, forgery, deception, or

subterfuge, namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II

controlled substances, in violation of21 U.S.C. § 843(a)(3).

      3.       It was a part of the conspiracy that the defendant, MARK R. FANTAUZZI, and

others known and unknown to the Grand Jury, concocted a scheme to obtain money and controlled

substances, namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II

controlled substances from a medical doctor, licensed to prescribe said controlled substances.

      4.       It was part ofthe conspiracy that MARK R. FANTAUZZI was hired by TRACY

BIAS and others known and unknown to be a physician at the SOCPM.



                                                 19
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 20 of 31 PAGEID #: 539




      5.       It was further part of the conspiracy that the co-defendants along with others known

and unknown to the Grand Jury, did provide MARK R. FANTAUZZI with names to use in

writing those prescriptions.

      6.       It was further a part ofthe conspiracy that MARK R. FANTAUZZI, would write

prescriptions for OxyContin and Percocet, and other Schedule II controlled substances and

hydrocodone a Schedule III controlled substance without conducting any meaningful physical

examination of the customer of the pain clinic as to ascertain whether the prescription was for a

legitimate medical purpose and within the scope of ordinary medical practice.

      7.       It was further a part of the conspiracy that MARK R. FANTAUZZI would

continue to write prescriptions for the customers of the pain clinic when he learned that area

pharmacies refused to fill prescriptions from the pain clinic due to concerns that the amount of

medications and the "cocktail" were outside the bounds of legitimate medical purpose.

      8.       It was further part of the conspiracy that MARK R. FANTAUZZI, TRACY BIAS

and the other co-conspirators would then open an un-licensed dispensary on the premises of each

clinic to circumvent the need for customers to travel to another pharmacy, avoid the scrutiny of

other area pharmacists and make a greater profit at the clinic.

       In violation of Title 21, United States Code, Section 846.

                                                COUNTS

      1.       Paragraphs 1 through 85 of the Indictment are re-alleged and incorporated into

Count 5 of this Indictment.

      2.       Beginning in approximately, the exact date being unknown to the Grand Jury, and

continuing up to May 2009, in the Southern District of Ohio and elsewhere, MARCELLUS



                                                 20
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 21 of 31 PAGEID #: 540




JAJUAN GILREATH, the defendant herein, TRACY BIAS and others known and unknown to

the Grand Jury, did knowingly, willfully, intentionally, and unlawfully combine, conspire,

confederate, and agree, and have a tacit understanding with each other, to commit offenses against

the United States, to wit: to knowingly, willfully, intentionally and unlawfully to acquire or obtain

possession of a controlled substance by misrepresentation, fraud, forgery, deception, or

subterfuge, namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II

controlled substances, in violation of21 U.S.C. § 843(a)(3).

       3.      It was a part of the conspiracy that the defendant, MARCELLUS JAJUAN

GILREATH, and others known and unknown to the Grand Jury, concocted a scheme to obtain

money and controlled substances, namely OxyContin (oxycodone) and Percocet (oxycodone), and

other Schedule II controlled substances from a medical doctor, licensed to prescribe said

controlled substances.

       4.      It was part of the conspiracy that MARCELLUS JAJUAN GILREATH was

hired by TRACY BIAS and others known and unknown to be a physician at SOCPM, PMS as

well as many other area pain clinics.

       5.      It was further part of the conspiracy that the co-defendants along with others known

and unknown to the Grand Jury, did provide MARCELLUS JAJUAN GILREATH with names

to use in writing those prescriptions.

       6.      It was further a part of the conspiracy that MARCELLUS JAJUAN GILREATH,

would write prescriptions for OxyContin and Percocet, and other Schedule II controlled

substances and hydrocodone a Schedule III controlled substance without conducting any

meaningful physical examination of the customer of the pain clinic as to ascertain whether the




                                                 21
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 22 of 31 PAGEID #: 541




prescription was for a legitimate medical purpose and within the scope of ordinary medical

practice.

       7.      It was further a part of the conspiracy that MARCELLUS JAJUAN GILREATH

would continue to write prescriptions for the customers of the pain clinic when he learned that area

pharmacies refused to fill prescriptions from the pain clinic due to concerns that the amount of

medications and the "cocktail" were outside the bounds of legitimate medical purpose.

        In violation of Title 21, United States Code, Section 846.

                                                COUNT6

       1.      Paragraphs 1 through 85 of the Indictment are re-alleged and incorporated into

Count 6 of this Indictment.

       2.      Beginning in approximately, the exact date being unknown to the Grand Jury, and

continuing up to and including April 18, 2010 , in the Southern District of Ohio and elsewhere,

Stephen L. Pierce, the defendant herein, TRACY BIAS and others known and unknown to the

Grand Jury, did knowingly, willfully, intentionally, and unlawfully combine, conspire,

confederate, and agree, and have a tacit understanding with each other, to commit offenses against

the United States, to wit: to knowingly, willfully, intentionally and unlawfully to acquire or obtain

possession of a controlled substance by misrepresentation, fraud, forgery, deception, or

subterfuge, namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II

controlled substances, in violation of21 U.S.C. § 843(a)(3).

       3.      It was a part of the conspiracy that the defendant, Stephen L. Pierce, and others

known and unknown to the Grand Jury, concocted a scheme to obtain money and controlled




                                                 22
                       -------------------------------------------

 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 23 of 31 PAGEID #: 542




substances, namely OxyContin (oxycodone) and Percocet (oxycodone), and other Schedule II

controlled substances from a medical doctor, licensed to prescribe said controlled substances.

      4.         It was part of the conspiracy that Stephen L. Pierce was hired by TRACY BIAS

and others known and unknown to be a physician at TRINITY.

      5.         It was further part of the conspiracy that the co-defendants along with others known

and unknown to the Grand Jury, did provide Stephen L. Pierce with names to use in writing those

prescriptions.

      6.         It was further a part of the conspiracy that Stephen L. Pierce, would write

prescriptions for OxyContin and Percocet, and other Schedule II controlled substances and

hydrocodone a Schedule III controlled substance without conducting any meaningful physical

examination of the customer of the pain clinic as to ascertain whether the prescription was for a

legitimate medical purpose and within the scope of ordinary medical practice.

      7.         It was further a part of the conspiracy that Stephen L. Pierce would continue to

write prescriptions for the customers of the pain clinic when he learned that area pharmacies

refused to fill prescriptions from the pain clinic due to concerns that the amount of medications and

the "cocktail" were outside the bounds of legitimate medical purpose.

       In violation of Title 21, United States Code, Section 846.

                                              COUNT7

       1.        Paragraphs 1 through 85 of the Indictment are re-alleged and incorporated into

Count 7 of the Indictment.

      2.         Beginning in approximately December 2009, the exact date being unknown to the

Grand Jury, and continuing up to February 2010, in the Southern District of Ohio and elsewhere,


                                                  23
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 24 of 31 PAGEID #: 543




JAMES E. LASSITER, the defendant herein, TRACY BIAS and others known and unknown to

the Grand Jury, did knowingly, willfully, intentionally, and unlawfully combine, conspire,

confederate, and agree, and have a tacit understanding with each other, to commit offenses against

the United States, to wit: to knowingly, willfully, intentionally and unlawfully to acquire or obtain

possession of a controlled substance by misrepresentation, fraud, forgery, deception, or

subterfuge, namely OxyContin (oxycodone) and Percocet ( oxycodone), and other Schedule II

controlled substances, in violation of21 U.S.C. § 843(a)(3).

      3.       It was a part of the conspiracy that the defendant, JAMES E. LASSITER, and

others known and unknown to the Grand Jury, concocted a scheme to obtain money and controlled

substances, namely OxyContin (oxycodone) and Percocet ( oxycodone), and other Schedule II

controlled substances from a medical doctor, licensed to prescribe said controlled substances.

      4.       It was part of the conspiracy that JAMES E. LASSITER was hired by TRACY

BIAS and others known and unknown to be a physician at the SOCPM and TRINITY.

       5.      It was further part of the conspiracy that the co-defendants along with others known

and unknown to the Grand Jury, did provide JAMES E. LASSITER, with names to use in writing

those prescriptions.

       6.      It was further a part of the conspiracy that JAMES E. LASSITER, would write

prescriptions for OxyContin and Percocet, and other Schedule II controlled substances and

hydrocodone a Schedule III controlled substance without conducting any meaningful physical

examination of the customer of the pain clinic as to ascertain whether the prescription was for a

legitimate medical purpose and within the scope of ordinary medical practice.




                                                 24
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 25 of 31 PAGEID #: 544




      7.       It was further a part of the conspiracy that JAMES E. LASSITER would continue

to write prescriptions for the customers of the pain clinic when he learned that area pharmacies

refused to fill prescriptions from the pain clinic due to concerns that the amount of medications and

the "cocktail" were outside the bounds of legitimate medical purpose.


      8.       It was further part of the conspiracy that JAMES E. LASSITER, TRACY BIAS

and the other co-conspirators would then open a dispensary on the premises of each clinic to

circumvent the need for customers to travel to another pharmacy, avoid the scrutiny of other area

pharmacists and make a greater profit at the clinic.


       In violation of Title 21, United States Code, Section 846.

                                             COUNTS

       1.      Paragraphs 1 through 85 of this Indictment are re-alleged and incorporated into

Count 8 of the Indictment.

       2.      Beginning on or about February 4, 2009, and continuing up to and including June

12, 2011, within the Southern District of Ohio, and elsewhere, the defendants, TRACY BIAS,

John A. Dahlsten, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH, and

JAMES E. LASSITER, with others known to the grand jury, did knowingly, willfully and

unlawfully open, lease, rent, use or maintain any place; to wit: SOUTHERN OHIO COMPLETE

MEDICAL SOLUTIONS located at 1219 Findlay Street                      Portsmouth, Ohio, whether

permanently or temporarily for the purpose of distributing any controlled substance.

        In violation of Title 21, United States Code, Section 856(a)(1) and
          Title 18, United States Code, Section 2.




                                                 25
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 26 of 31 PAGEID #: 545




                                            COUNT9

      1.       Paragraphs 1 through 85 of this Indictment are re-alleged and incorporated into

Count 9 of the Indictment.

      2.       Beginning on or about July 2009 and continuing up to July 2011, within the

Southern District of Ohio, and elsewhere, the defendant, TRACY BIAS, Joon H. Chong, and

MARCELLUS JAJUAN GILREATH with others known to the grand jury, did knowingly,

willfully and unlawfully open, lease, rent, use or maintain any place; to wit: PORTSMOUTH

MEDICAL SOLUTIONS located at 1405 Eleventh Street Portsmouth, Ohio, whether permanently

or temporarily for the purpose of distributing any controlled substance.

       In violation of Title 21, United States Code, Section 856(a)(1) and
         Title 18, United States Code, Section 2.

                                           COUNT 10

      1.       Paragraphs 1 through 85 of this Indictment are re-alleged and incorporated into

Count 10 of the Indictment.

      2.       Beginning on or about January 25, 2010 and continuing up to and including, the

exact date being unknown to the Grand Jury, within the Southern District of Ohio, and elsewhere,

the defendant, TRACY BIAS, Stephen L. Pierce, and JAMES E. LASSITER with others known

to the grand jury, did knowingly, willfully and unlawfully open, lease, rent, use or maintain any

place; to wit: TRINITY MEDICAL CARE located at 1687-1689 Karl Court, Columbus, Ohio,

whether permanently or temporarily for the purpose of distributing any controlled substance.

       In violation of Title 21, United States Code, Section 856(a)(1) and
         Title 18, United States Code, Section 2.




                                                26
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 27 of 31 PAGEID #: 546




                                           COUNT 11

      1.       Paragraphs 1 through 85 of this Indictment are re-alleged and incorporated into

Count 11 of the Indictment.

      2.       Beginning in or about February 2, 2009, the exact date being unknown, and

continuing thereafter up to and including the date of this indictment, in the Southern District of

Ohio and elsewhere, defendant TRACY BIAS, did unlawfully, knowingly, and intentionally

engage in a continuing criminal enterprise in that he unlawfully, knowingly, and intentionally

violated Title 21 United States Code, Sections 84l(a)(l), 843 (a)(3), 846 and 856, which violations

include, but are not limited to, the substantive violations alleged in Count 1; the substantive

violations alleged in the Overt Acts alleged in Count 1, which Overt Acts are re-alleged and

incorporated herein by reference as though fully set forth in this Count, which violations were part

of a continuing series of violations of the Controlled Substances Act, Title 21 United States Code,

Section 801, et seq., undertaken by defendant TRACY BIAS, in concert with at least five other

persons with respect to whom defendant, TRACY BIAS, occupied the position of principal

organizer, supervisor, and a position of management from which such continuing series of

violations the defendant, TRACY BIAS obtained substantial income and resources. Furthermore,

defendant, TRACY BIAS was the principal administrator, organizer, supervisor and leader of the

criminal enterprise, which involved conspiring to possess with the intent to distribute and to

distribute quantities of oxycodone, a Schedule II controlled substance, as set forth in Count 1,

hydrocodone, a Schedule III controlled substance and other Schedule IV controlled substances.

       In violation of Title 21, United States Code, Sections 848(a) and (b)(1)
         and Title 18, United States Code, Section 2.




                                                 27
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 28 of 31 PAGEID #: 547




                                             COUNT 12

       1.       Paragraphs 1 through 85 of this Indictment are re-alleged and incorporated into

Count 12 of the Indictment.

       2.       On or about July 14, 2010, in the Southern District of Ohio and elsewhere,

Defendants TRACY BIAS and STEVEN HILLMAN , and others known and unknown to the

grand did knowingly conduct or attempted to conduct a financial transaction or transactions

affecting interstate commerce, to wit: a deposit of $132,920.00 dollars in United States currency

into the Chase bank which involved the proceeds of a specified unlawful activity, that is

Conspiracy to Distribute and Dispense Controlled Substances in violation of Title 21 U.S.C.§

841(a)(l) and 846 and that while conducting and attempting to conduct such financial transaction

knew that the property involved in the financial transaction represented the proceeds of some form

of unlawful activity the knowing that the property involved were represented to be and in fact were

proceeds of specified unlawful activity.

        All in violation of Title 18, United States Code, Sections 1956(a)(1)(A)(i) , (h)
          and Title 18, United States Code, Section 2.

                                FORFEITURE ALLEGATIONS

        THE GRAND JURY FURTHER CHARGES THAT:

                                      Forfeiture Allegation I

        The defendant, TRACY BIAS, if convicted of Counts 1 through 12 of this Indictment,

shall forfeit to the United States any property constituting, or derived from, any proceeds the

defendant obtained, directly or indirectly, as the result of such violation; and any of the defendant's




                                                  28
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 29 of 31 PAGEID #: 548




property used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of such violation, including, but not limited to, the following:

BANK ACCOUNT

               b.      Contents ofWoodforest National Bank Account No. XXX0017 in the name

               of Southern Ohio Complete Pain Management c/o Tracy Bias at Woodforest

               National Bank. The value is Forty-Three Thousand and Nine Hundred

               Ninety-Seven Dollars and Ninety-Seven Cents ($43,997.97);

VEHICLES

               c.      A 2007 Chevrolet TrailBlazer, VIN 1GNDS13S772275112, with all

               attachments thereon;

               d.      A 2005 Toyota Camry, VIN 4TIBF30K85U109439, with all attachments

               thereon;

               e.      A 2005 Ford F150 Pickup VIN 1FTRF04W95KC01217, with all

               attachments thereon;

U.S. CURRENCY

               f.      Two Thousand Three Hundred Fifty-Eight Dollars and Forty Cents

               ($2,358.40) in United States Currency; and

        g.     Three Thousand Two Hundred and One Dollars and Eighty Cents ($3,201.80) in

United States Currency.

                                      Forfeiture Allegation II

        Upon conviction of the offenses set forth in Counts I through 12 ofthis Indictment, the

defendants, TRACY BIAS, MARK R. FANTAUZZI, MARCELLUS JAJUAN GILREATH,

JAMES E. LASSITER, and STEVEN HILLMAN, shall forfeit to the United States pursuant



                                                 29
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 30 of 31 PAGEID #: 549




to 21 U.S.C. § 853(a), (a) any property constituting, or derived from, any proceeds obtained,

directly or indirectly, as a result of said violations; and (b) any property used, or intended to be

used, in any manner or part, to commit, or to facilitate the commission of the said violations,

including but not limited to a money judgment of at least $6,750,000.00 in U.S. currency, which

represents the proceeds the defendants obtained, directly or indirectly, as a result of the offense

for which they are charged and the following specific property:

        a.      Medical license issued to MARCELLUS JAJUAN GILREATH in Ohio;

        b.      Medical license issued to MARK R. FANTAUZZI in Ohio; and

        c.      Medical license issued to JAMES LASSITER in Ohio.

                                      Forfeiture Allegation III

        Upon conviction of the offenses set forth in Count 12 of this Indictment, the defendants,

TRACY BIAS and STEVEN HILLMAN, shall forfeit to the United State, pursuant to 18

U.S.C. § 982(a)(1), any property, real or personal, involved in such offense, and any property

traceable to such property including but not limited to a money judgment of at least $212,900.00

in U.S. currency, which represents the proceeds the defendants obtained, directly or indirectly, as

a result of the conspiracy for which they are charged.

                                          Substitute Assets

        If any of the property described above in Forfeiture Allegations I, II, and III, as a result of

any act or omission of the defendants:

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;




                                                  30
 Case: 1:12-cr-00043-MRB Doc #: 109 Filed: 01/16/13 Page: 31 of 31 PAGEID #: 550




               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided

               without difficulty,

it is the intent ofthe United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any

other property of said defendants up to the value ofthe above forfeitable property.



                                                             A TRUE BILL.




                                                                        JURY FOREPERSON


CARTER STEWART
UNITED STATES ATTORNEY



]ike.~
ROBERT c. BRIC ER
CHIEF, ORGANIZED CRIME DRUG ENFORCEMENT TASK FORCE




                                                 31
